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August 31, 2022

Via ECF

Hon. Louis L. Stanton, U.S.D.J.
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007
       Re:     FTC, et al. v. Quincy Bioscience Holding Co., Inc., et al., Case No. 1:17-cv-00124-LLS

Your Honor:
        We represent defendants Quincy Bioscience Holding Company, Inc., Quincy Bioscience, LLC,
Prevagen, Inc., and Quincy Bioscience Manufacturing, LLC (collectively, “Quincy”). Pursuant to
Section 3.B of Your Honor’s Individual Practices, Quincy hereby requests that the Court maintain
limited portions of the parties’ Joint Pretrial Order on the docket in redacted form.

        Paragraphs 186 through 188 of Section II of the Joint Pretrial Order (Plaintiffs’ Proposed
Findings of Fact) detail Quincy’s sales, revenue, and advertising expenditures. This information
represents Quincy’s confidential business information. Indeed, this Court previously recognized as
much and sealed the same sales and revenue information contained in Paragraphs 186 and 187 of the
Joint Pretrial Order. That information—which was taken from Quincy’s Fourth Supplemental
Responses and Objections to Plaintiffs’ First Set of Interrogatories—was submitted to the Court in
connection with defendant Mark Underwood’s reply papers in support of his motion for summary
judgment. (Dkt. No. 266-5.) On August 24, 2022, this Court granted Mr. Underwood’s request to seal
that information, explaining that the “Exhibits attached to Exhibit 5 to the de Leeuw Declaration
(Exhibits A through F, analyzing sales) may remain under seal in their entirety.” (Dkt. No. 293.)

        The same should be true for the advertising and marketing information in Paragraph 187. This
information (taken from Quincy’s Second Supplemental Responses and Objection to Plaintiffs’ Second
Set of Interrogatories) details Quincy’s advertising and marketing expenditures from 2015-2019. And
courts routinely seal that type of information. See Kewazinga Corp. v. Microsoft Corp., No. 18 Civ.
4500, 2021 WL 1222122, at *3 (S.D.N.Y. Mar. 31, 2021) (“Courts commonly find that documents that
contain trade secrets, confidential research and development information, marketing plans, revenue
information, pricing information, and the like satisfy the sealing standard.”); Louis Vuitton Malletier S.A.
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v. Sunny Merch. Corp., 97 F. Supp. 3d 485, 511 (S.D.N.Y. 2015) (sealing advertising expenditures and
plans).

       Quincy therefore respectfully requests that the Court accept Quincy’s proposed redactions to
Paragraphs 186 through 188 of the Joint Pretrial Order for purposes of filing the Joint Pretrial Order on
the public docket.

                                             Respectfully submitted,

                                             /s/ Glenn T. Graham

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cc:    All Counsel of Record (via Email)




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